       Case 4:19-cv-03520 Document 72 Filed on 02/19/20 in TXSD Page 1 of 5




                       UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ENERGY INTELLIGENCE GROUP,                        §
INC. and ENERGY INTELLIGENCE                      §
GROUP (UK) LIMITED,                               §
                                                  §       Civil Action Nos. 4:19-cv-03520
         Plaintiffs/Counter-Defendants,           §       and 4:19-cv-04121
                                                  §
v.                                                §
                                                  §       Judge Charles Eskridge
KIRBY INLAND MARINE, LP,                          §
                                                  §
         Defendant/Counter-Claimant.              §


          DEFENDANT/COUNTER-CLAIMANT’S MOTION TO EXCLUDE

         Pursuant to Federal Rule of Civil Procedure 12(f), Defendant/Counter-Claimant

Kirby Inland Marine, LP (“Kirby”) respectfully moves the Court to exclude Exhibit A to

Plaintiffs’ Motion to Dismiss Defendant’s Counterclaim Under FED. R. CIV. P. 12(B)(6)

(the “Motion to Dismiss”)—the Declaration of John Hitchcock in Support of Plaintiffs’

Motion to Dismiss (the “Declaration”)—and all references to the Declaration in the Motion

to Dismiss. Dkt. Nos. 69, 69-1. On a motion to dismiss, evidence outside the pleadings is

not properly considered under FED. R. CIV. P. 12(b)(6). Thus, the Declaration should be

excluded.

                                          ARGUMENT

         The Declaration is not attached to EIG’s pleadings. EIG presents the Declaration for

the first time as an exhibit to its Motion to Dismiss. “[W]hen matters outside the pleadings

are presented with a motion to dismiss under Rule 12(b)(6), a district court has complete


DEFENDANT/COUNTER-CLAIMANT’S MOTION TO EXCLUDE – Page 1
0143902.0728261 4851-0785-3493v1
       Case 4:19-cv-03520 Document 72 Filed on 02/19/20 in TXSD Page 2 of 5




discretion to accept or exclude the evidence.” Harris v. Coastal Offshore, Inc., Civil Action

No. C-11-58, 2011 WL 2457922, at *3 (S.D. Tex. June 16, 2011) (citations omitted); see

also Constr. Cost Data, LLC v. Gordian Grp., Inc., Civil Action No. H-16-114, 2017 WL

2266993, at *8 (S.D. Tex. Apr. 24, 2017) (excluding the declaration of the defendant’s vice

president and general manager, among other documents). However, “[i]f, on a motion

under Rule 12(b)(6) . . . matters outside the pleadings are presented to and not excluded by

the court, the motion must be treated as one for summary judgment under Rule 56.” FED.

R. CIV. P. 12(d) (emphasis added). Here, it would be appropriate for the Court to exclude

the Declaration attached to EIG’s motion to dismiss.

         First, the Declaration does not resolve any disputed facts or present any evidence

showing that Kirby’s claims are insufficient as a matter of law. EIG merely uses the self-

serving affirmations to re-emphasize the purported “fact” of its innocence. See Dkt. No. 69

at 12, 14 (“The simple truth is that EIG has not and does not access its subscribers’

computer systems or mobile devices . . . . Simply put, such access in fact never occurred.”

(citing Dkt. No. 69-1) (emphasis added)). These allegations do not speak to—and are, more

importantly, not properly considered in adjudicating—the sufficiency of Kirby’s claims on

a Motion to Dismiss. “‘When the extra-pleaded material is comprehensive and will enable

a rational determination of a summary judgment motion, the court is likely to accept it,

when it is scanty, incomplete, or inconclusive, the court probably will reject it.’” Harris,

2011 WL 2457922, at *3 (emphasis added) (quoting Isquith v. Middle S. Utils., Inc., 847

F.2d 186, 193 n. 3 (5th Cir. 1988)). EIG’s Declaration should therefore be excluded.



DEFENDANT/COUNTER-CLAIMANT’S MOTION TO EXCLUDE – Page 2
0143902.0728261 4851-0785-3493v1
       Case 4:19-cv-03520 Document 72 Filed on 02/19/20 in TXSD Page 3 of 5




         Second, consideration of the Declaration, and conversion of the Motion to Dismiss

to summary judgment, would be premature at this stage. FED. R. CIV. P. 12(d). Discovery

is in its early stages, and the parties have not yet had an opportunity to uncover evidence

that could be highly relevant on summary judgment. See FED. R. CIV. P. 12(d) (“If . . . the

motion must be treated as one for summary judgment . . . [a]ll parties must be given a

reasonable opportunity to present all the material that is pertinent to the motion.”); Harris,

2011 WL 2457922, at *4 (“As this lawsuit was filed only approximately three months ago,

and depends upon the resolution of disputed facts, the Court concludes that it is premature

to accept this limited evidence and convert Defendant's Rule 12(b)(6) motion into a Rule

56 motion for summary judgment.”); Constr. Cost Data, LLC, 2017 WL 2266993, at *8 n.6

(“The Court does not find it appropriate to convert Defendants’ 12(b)(6) motion into one

for summary judgment.”).

         Finally, conversion to summary judgment does not comport with the parties’

intentions. EIG plainly intended to move under Federal Rule of Civil Procedure 12(b)(6),

as shown at minimum by the title of its Motion to Dismiss: “Plaintiffs’ Motion to Dismiss

Defendant’s Counterclaim Under Fed. R. Civ. P. 12(B)(6).” Dkt. No. 69 at 1 (emphasis

added). And Kirby’s response to EIG’s Motion to Dismiss, filed contemporaneously

herewith, anticipates that the Court will adjudicate EIG’s Motion to Dismiss under FED. R.

CIV. P. 12(b)(6). Kirby has accordingly not submitted any supporting materials it might

have otherwise submitted on summary judgment. See FED. R. CIV. P. 12(d).




DEFENDANT/COUNTER-CLAIMANT’S MOTION TO EXCLUDE – Page 3
0143902.0728261 4851-0785-3493v1
       Case 4:19-cv-03520 Document 72 Filed on 02/19/20 in TXSD Page 4 of 5




                                        CONCLUSION

         Because the Declaration falls outside the pleadings and because EIG’s Motion to

Dismiss is not appropriate for conversion to summary judgment at this stage, the Court

should exclude the Declaration, and all references to it in EIG’s Motion to Dismiss.

                                                  Respectfully submitted,

                                                  FROST BROWN TODD LLC

                                                  By: /s/ Zenobia Harris Bivens
                                                      State Bar No. 24035678
                                                       S.D. Federal ID No. 1514596

                                                  Ben A. West
                                                  State Bar No. 24084074
                                                  S.D. Federal ID No. 2471145
                                                  Faith Eaton
                                                  State Bar No. 24094637
                                                  S.D. Federal ID No. 2997725
                                                  Carly J. Tebelman
                                                  Indiana Bar No. 34796-49
                                                  S.D. Federal ID No. 3509744
                                                  zbivens@fbtlaw.com
                                                  bwest@fbtlaw.com
                                                  featon@fbtlaw.com
                                                  ctebelman@fbtlaw.com

                                                  100 Crescent Court, Suite 350
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 545.3472
                                                  Telecopier: (214) 545.3473

                                                  ATTORNEYS FOR DEFENDANT/
                                                  COUNTER-CLAIMANT KIRBY
                                                  INLAND MARINE, LP




DEFENDANT/COUNTER-CLAIMANT’S MOTION TO EXCLUDE – Page 4
0143902.0728261 4851-0785-3493v1
       Case 4:19-cv-03520 Document 72 Filed on 02/19/20 in TXSD Page 5 of 5




                                   CERTIFICATE OF SERVICE

         On February 19, 2020, I electronically filed the foregoing document with the Clerk

of the Court for the U.S. District Court, Southern District of Texas, Houston Division. I

hereby certify that I have served the documents on all counsel by a manner authorized by

Fed. R. Civ. P. 5(b)(2)(E).

                                                  /s/ Zenobia Harris Bivens
                                                  Zenobia Harris Bivens




DEFENDANT/COUNTER-CLAIMANT’S MOTION TO EXCLUDE – Page 5
0143902.0728261 4851-0785-3493v1
